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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA                          :
                                                   :
                                                   :      CRIMINAL ACTION
               v.                                  :      No. 94-196
                                                   :
                                                   :      CIVIL ACTION
 MELVIN WILLIAMS                                   :      No. 16-3200

                                           ORDER

       AND NOW, this 23RD day of January, 2024, it is ORDERED that the United States

Probation Office for the Eastern District of Pennsylvania prepare and submit an updated

Presentence Investigation Report for Mr. Williams for re-sentencing.



                                                   _s/ANITA B. BRODY, J.__________
                                                   ANITA B. BRODY, J.
